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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                   PLAINTIFF

v.                                   No. 4:09CR00322-04 JLH

SAMUEL RAY BLACK, JR.                                                                   DEFENDANT

                                               ORDER

       Samuel Ray Black, Jr., has filed a motion for a reduction in his sentence and early termination

of his probation. Early termination of probation is governed by 18 U.S.C. § 3564(c), which provides:

       The court, after considering the factors set forth in section 3553(a) to the extent that
       they are applicable, may, pursuant to the provisions of the Federal Rules of Criminal
       Procedure relating to the modification of probation, terminate a term of probation
       previously ordered and discharge the defendant at any time in the case of a
       misdemeanor or an infraction or at any time after the expiration of one year of
       probation in the case of a felony, if it is satisfied that such action is warranted by the
       conduct of the defendant and the interest of justice.

       Black entered a guilty plea to attempting to possess with intent to distribute and to distribute

marijuana in violation of 21 U.S.C. §§ 841(a) and 2, a Class C felony. The Court sentenced Black

to a term of three years of probation with a special condition of one hundred (100) hours of

community service. That sentence represented a significant downward departure.

       In his motion, Black says that he has complied with the terms of his probation and has

completed his community service. He also says that he works with a rap group called Re-Entry, that

the group sometimes receives invitations to perform out-of-state on such short notice that he cannot

obtain permission and that this has caused an “extreme financial and professional hardship” for him.

       Black’s period of probation began on December 14, 2011, and is therefore due to expire on

December 14, 2014. At the time of the sentencing, the Court concluded that a term of probation of

three years was sufficient but not greater than necessary to comply with the purposes set forth in
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paragraph 2 of section 3553(a). Black has presented nothing to explain why the ends of justice justify

a sentence lower than that determined by the Court at sentencing to be sufficient but not greater than

necessary to comply with the purposes in section 3553(a)(2). The Court does not believe that a

musical group would receive many invitations to perform out-of-state on such short notice that Black

would not communicate with his probation officer, so the Court finds no hardship that would justify

early termination of probation.

       Mere compliance with the terms of probation does not justify early termination because

compliance is expected. Without more, early termination cannot be justified. United States v.

Caruso, 241 F. Supp. 2d 466, 469 (D.N.J. 2003). “Given the gravity of [Mr. Black’s] crime . . . it

would indeed send the wrong message if this Court, based solely on [Mr. Black’s] compliance with

the conditions of probation, were to terminate his probationary sentence early.” Id.

       Black’s motion for early termination or modification of conditions of probation is DENIED.

Document #124.

       IT IS SO ORDERED this 4th day of November, 2013.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE




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